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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

                        Plaintiff,
                                                          Civil Action No. 1:20-CV-03590-JEB
 v.

 META PLATFORMS, INC.,                                    Hon. James E. Boasberg
                        Defendant.


        MOTION FOR ADMISSION PRO HAC VICE FOR GREGORY F. WELLS

       Pursuant to Rule 83.2(e) of the Local Rules of the United States District Court for the

District of Columbia, the undersigned counsel Evan Miller, as a member of the Bar of this Court,

respectfully moves that Gregory F. Wells be admitted pro hac vice in the above-captioned action

as counsel for Non-Party Alphabet, Inc. pending his formal admission to the Bar of this Court. In

support of this motion, the undersigned represents:

       1.      Mr. Wells is a lawyer at Vinson & Elkins, LLP, 2200 Pennsylvania Ave., N.W.,

Washington, DC 20037.

       2.      As set forth in Mr. Wells’ Declaration accompanying this motion, Mr. Wells is a

member in good standing of the California and District of Columbia Bars. Mr. Wells is also

member in good standing of the following federal bars: the U.S. Court of Appeals for the Second

Circuit, the U.S. District Court for the Northern District of California, and the U.S. Court of

Federal Claims. Mr. Wells has not been disciplined by any bar.

       3.      Mr. Wells has never been admitted pro hac vice in this Court.




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       4.      Mr. Wells engages in the practice of law from an office located in the District of

Columbia and is a member of the District of Columbia state bar. Simultaneously with this

application, Mr. Wells has sought admission to the Bar of this Court.

       5.      A declaration signed by Mr. Wells, certifying the foregoing information, is

annexed hereto.


        WHEREFORE, the undersigned counsel respectfully moves that this Court enter an

Order permitting Gregory F. Wells to appear pro hac vice in the above-captioned action

pending his admission to the Bar of this Court.

 Dated: April 10, 2025                     s/ Evan D. Miller
                                           Evan D. Miller
                                           VINSON & ELKINS LLP
                                           2200 Pennsylvania Avenue NW
                                           Suite 500 West
                                           Washington, DC 20037
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                                CERTIFICATE OF SERVICE

       Pursuant to LCvR 5.3, I hereby certify that on April 10, 2025, I caused to be filed a copy

of the foregoing Motion for Admission Pro Hac Vice to the Court’s CM/ECF system, and service

was effected electronically pursuant to LCvR 5.4(d) to all counsel of record.



Dated: April 10, 2025                     s/ Evan D. Miller
                                          Evan D. Miller
                                          VINSON & ELKINS LLP
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                                          Suite 500 West
                                          Washington, DC 20037
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